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                          UNITED STATES DISTRICT COURT
                         FOR THE District of New Jersey [LIVE]
                     U.S. District Court for the District of New Jersey

 SAUL FALACK
                                Plaintiff,
 v.                                               Case No.: 3:17−cv−02992−PGS−TJB
                                                  Judge Peter G. Sheridan
 BANK OF AMERICA
                                Defendant.

          60 DAY ORDER ADMINISTRATIVELY TERMINATING ACTION


      It having been reported to the Court that the above−captioned action has been settled,
      IT IS on this 26th day of October, 2018,
     ORDERED that this action and any pending motions are hereby administratively
 terminated; and it is further
    ORDERED that this shall not constitute a dismissal Order under the Federal Rules of
 Civil Procedure; and it is further
     ORDERED that within 60 days after entry of this Order (or such additional period
 authorized by the Court), the parties shall file all papers necessary to dismiss this action
 under the Federal Rules of Civil Procedure or, if settlement cannot be consummated,
 request that the action be reopened; and it is further
     ORDERED that, absent receipt from the parties of dismissal papers or a request to
 reopen the action within the 60−day period, the Court shall dismiss this action, without
 further notice, with prejudice and without costs.




                      /s/ Peter G. Sheridan
                      ____________________________________________________
                      PETER G. SHERIDAN United States District Judge
